Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 1 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 2 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 3 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 4 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 5 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 6 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 7 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 8 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 9 of 10
Case 16-32021   Doc 94   Filed 04/24/17 Entered 04/24/17 15:29:38   Desc Main
                          Document     Page 10 of 10
